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      In the United States Court of Federal Claims
                               No. 02-1123T
                        (Filed: December 15, 2015)

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HENRY W. BATES and
PATRICIA D. BATES,

                     Plaintiffs,

v.

THE UNITED STATES,

                     Defendant.

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                                   ORDER

        On December 4, 2015, defendant filed a stipulation of dismissal on
behalf of both parties because the parties had reached a settlement. Although
filed in the correct docket, the document itself contains the wrong docket
number. The clerk’s office subsequently notified the undersigned of the error.

      Accordingly, the clerk’s office is directed to allow filed the mis-
numbered stipulation and to dismiss the complaint with prejudice and enter
judgment accordingly. No costs.


                                                 s/Eric G. Bruggink
                                                 Eric G. Bruggink
                                                 Judge
